Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 1 of 308 PageID #:7067
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 2 of 308 PageID #:7068
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 3 of 308 PageID #:7069
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 4 of 308 PageID #:7070
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 5 of 308 PageID #:7071
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 6 of 308 PageID #:7072
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 7 of 308 PageID #:7073
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 8 of 308 PageID #:7074
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 9 of 308 PageID #:7075
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 10 of 308 PageID #:7076
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 11 of 308 PageID #:7077
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 12 of 308 PageID #:7078
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 13 of 308 PageID #:7079
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 14 of 308 PageID #:7080
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 15 of 308 PageID #:7081
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 16 of 308 PageID #:7082
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 17 of 308 PageID #:7083
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 18 of 308 PageID #:7084
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 19 of 308 PageID #:7085
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 20 of 308 PageID #:7086
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 21 of 308 PageID #:7087
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 22 of 308 PageID #:7088
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 23 of 308 PageID #:7089
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 24 of 308 PageID #:7090
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 25 of 308 PageID #:7091
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 26 of 308 PageID #:7092
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 27 of 308 PageID #:7093
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 28 of 308 PageID #:7094
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 29 of 308 PageID #:7095
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 30 of 308 PageID #:7096
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 31 of 308 PageID #:7097
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 32 of 308 PageID #:7098
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 33 of 308 PageID #:7099
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 34 of 308 PageID #:7100
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 35 of 308 PageID #:7101
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 36 of 308 PageID #:7102
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 37 of 308 PageID #:7103
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 38 of 308 PageID #:7104
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 39 of 308 PageID #:7105
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 40 of 308 PageID #:7106
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 41 of 308 PageID #:7107
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 42 of 308 PageID #:7108
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 43 of 308 PageID #:7109
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 44 of 308 PageID #:7110
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 45 of 308 PageID #:7111
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 46 of 308 PageID #:7112
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 47 of 308 PageID #:7113
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 48 of 308 PageID #:7114
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 49 of 308 PageID #:7115
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 50 of 308 PageID #:7116
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 51 of 308 PageID #:7117
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 52 of 308 PageID #:7118
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 53 of 308 PageID #:7119
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 54 of 308 PageID #:7120
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 55 of 308 PageID #:7121
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 56 of 308 PageID #:7122
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 57 of 308 PageID #:7123
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 58 of 308 PageID #:7124
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 59 of 308 PageID #:7125
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 60 of 308 PageID #:7126
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 61 of 308 PageID #:7127
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 62 of 308 PageID #:7128
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 63 of 308 PageID #:7129
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 64 of 308 PageID #:7130
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 65 of 308 PageID #:7131
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 66 of 308 PageID #:7132
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 67 of 308 PageID #:7133
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 68 of 308 PageID #:7134
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 69 of 308 PageID #:7135
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 70 of 308 PageID #:7136
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 71 of 308 PageID #:7137
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 72 of 308 PageID #:7138
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 73 of 308 PageID #:7139
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 74 of 308 PageID #:7140
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 75 of 308 PageID #:7141
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 76 of 308 PageID #:7142
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 77 of 308 PageID #:7143
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 78 of 308 PageID #:7144
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 79 of 308 PageID #:7145
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 80 of 308 PageID #:7146
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 81 of 308 PageID #:7147
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 82 of 308 PageID #:7148
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 83 of 308 PageID #:7149
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 84 of 308 PageID #:7150
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 85 of 308 PageID #:7151
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 86 of 308 PageID #:7152
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 87 of 308 PageID #:7153
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 88 of 308 PageID #:7154
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 89 of 308 PageID #:7155
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 90 of 308 PageID #:7156
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 91 of 308 PageID #:7157
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 92 of 308 PageID #:7158
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 93 of 308 PageID #:7159
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 94 of 308 PageID #:7160
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 95 of 308 PageID #:7161
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 96 of 308 PageID #:7162
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 97 of 308 PageID #:7163
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 98 of 308 PageID #:7164
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 99 of 308 PageID #:7165
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 100 of 308 PageID #:7166
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 101 of 308 PageID #:7167
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 102 of 308 PageID #:7168
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 103 of 308 PageID #:7169
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 104 of 308 PageID #:7170
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 105 of 308 PageID #:7171
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 106 of 308 PageID #:7172
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 107 of 308 PageID #:7173
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 108 of 308 PageID #:7174
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 109 of 308 PageID #:7175
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 110 of 308 PageID #:7176
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 111 of 308 PageID #:7177
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 112 of 308 PageID #:7178
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 113 of 308 PageID #:7179
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 114 of 308 PageID #:7180
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 115 of 308 PageID #:7181
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 116 of 308 PageID #:7182
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 117 of 308 PageID #:7183
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 118 of 308 PageID #:7184
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 119 of 308 PageID #:7185
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 120 of 308 PageID #:7186
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 121 of 308 PageID #:7187
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 122 of 308 PageID #:7188
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 123 of 308 PageID #:7189
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 124 of 308 PageID #:7190
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 125 of 308 PageID #:7191
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 126 of 308 PageID #:7192
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 127 of 308 PageID #:7193
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 128 of 308 PageID #:7194
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 129 of 308 PageID #:7195
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 130 of 308 PageID #:7196
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 131 of 308 PageID #:7197
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 132 of 308 PageID #:7198
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 133 of 308 PageID #:7199
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 134 of 308 PageID #:7200
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 135 of 308 PageID #:7201
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 136 of 308 PageID #:7202
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 137 of 308 PageID #:7203
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 138 of 308 PageID #:7204
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 139 of 308 PageID #:7205
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 140 of 308 PageID #:7206
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 141 of 308 PageID #:7207
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 142 of 308 PageID #:7208
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 143 of 308 PageID #:7209
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 144 of 308 PageID #:7210
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 145 of 308 PageID #:7211
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 146 of 308 PageID #:7212
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 147 of 308 PageID #:7213
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 148 of 308 PageID #:7214
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 149 of 308 PageID #:7215
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 150 of 308 PageID #:7216
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 151 of 308 PageID #:7217
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 152 of 308 PageID #:7218
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 153 of 308 PageID #:7219
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 154 of 308 PageID #:7220
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 155 of 308 PageID #:7221
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 156 of 308 PageID #:7222
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 157 of 308 PageID #:7223
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 158 of 308 PageID #:7224
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 159 of 308 PageID #:7225
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 160 of 308 PageID #:7226
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 161 of 308 PageID #:7227
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 162 of 308 PageID #:7228
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 163 of 308 PageID #:7229
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 164 of 308 PageID #:7230
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 165 of 308 PageID #:7231
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 166 of 308 PageID #:7232
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 167 of 308 PageID #:7233
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 168 of 308 PageID #:7234
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 169 of 308 PageID #:7235
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 170 of 308 PageID #:7236
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 171 of 308 PageID #:7237
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 172 of 308 PageID #:7238
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 173 of 308 PageID #:7239
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 174 of 308 PageID #:7240
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 175 of 308 PageID #:7241
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 176 of 308 PageID #:7242
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 177 of 308 PageID #:7243
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 178 of 308 PageID #:7244
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 179 of 308 PageID #:7245
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 180 of 308 PageID #:7246
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 181 of 308 PageID #:7247
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 182 of 308 PageID #:7248
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 183 of 308 PageID #:7249
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 184 of 308 PageID #:7250
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 185 of 308 PageID #:7251
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 186 of 308 PageID #:7252
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 187 of 308 PageID #:7253
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 188 of 308 PageID #:7254
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 189 of 308 PageID #:7255
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 190 of 308 PageID #:7256
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 191 of 308 PageID #:7257
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 192 of 308 PageID #:7258
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 193 of 308 PageID #:7259
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 194 of 308 PageID #:7260
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 195 of 308 PageID #:7261
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 196 of 308 PageID #:7262
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 197 of 308 PageID #:7263
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 198 of 308 PageID #:7264
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 199 of 308 PageID #:7265
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 200 of 308 PageID #:7266
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 201 of 308 PageID #:7267
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 202 of 308 PageID #:7268
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 203 of 308 PageID #:7269
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 204 of 308 PageID #:7270
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 205 of 308 PageID #:7271
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 206 of 308 PageID #:7272
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 207 of 308 PageID #:7273
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 208 of 308 PageID #:7274
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 209 of 308 PageID #:7275
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 210 of 308 PageID #:7276
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 211 of 308 PageID #:7277
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 212 of 308 PageID #:7278
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 213 of 308 PageID #:7279
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 214 of 308 PageID #:7280
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 215 of 308 PageID #:7281
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 216 of 308 PageID #:7282
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 217 of 308 PageID #:7283
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 218 of 308 PageID #:7284
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 219 of 308 PageID #:7285
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 220 of 308 PageID #:7286
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 221 of 308 PageID #:7287
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 222 of 308 PageID #:7288
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 223 of 308 PageID #:7289
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 224 of 308 PageID #:7290
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 225 of 308 PageID #:7291
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 226 of 308 PageID #:7292
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 227 of 308 PageID #:7293
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 228 of 308 PageID #:7294
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 229 of 308 PageID #:7295
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 230 of 308 PageID #:7296
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 231 of 308 PageID #:7297
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 232 of 308 PageID #:7298
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 233 of 308 PageID #:7299
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 234 of 308 PageID #:7300
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 235 of 308 PageID #:7301
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 236 of 308 PageID #:7302
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 237 of 308 PageID #:7303
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 238 of 308 PageID #:7304
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 239 of 308 PageID #:7305
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 240 of 308 PageID #:7306
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 241 of 308 PageID #:7307
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 242 of 308 PageID #:7308
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 243 of 308 PageID #:7309
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 244 of 308 PageID #:7310
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 245 of 308 PageID #:7311
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 246 of 308 PageID #:7312
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 247 of 308 PageID #:7313
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 248 of 308 PageID #:7314
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 249 of 308 PageID #:7315
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 250 of 308 PageID #:7316
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 251 of 308 PageID #:7317
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Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 255 of 308 PageID #:7321
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Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 257 of 308 PageID #:7323
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Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 259 of 308 PageID #:7325
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 260 of 308 PageID #:7326
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 261 of 308 PageID #:7327
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 262 of 308 PageID #:7328
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 263 of 308 PageID #:7329
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 264 of 308 PageID #:7330
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 265 of 308 PageID #:7331
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 266 of 308 PageID #:7332
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 267 of 308 PageID #:7333
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 268 of 308 PageID #:7334
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 269 of 308 PageID #:7335
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 270 of 308 PageID #:7336
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 271 of 308 PageID #:7337
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 272 of 308 PageID #:7338
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 273 of 308 PageID #:7339
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 274 of 308 PageID #:7340
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 275 of 308 PageID #:7341
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 276 of 308 PageID #:7342
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 277 of 308 PageID #:7343
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 278 of 308 PageID #:7344
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 279 of 308 PageID #:7345
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 280 of 308 PageID #:7346
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Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 283 of 308 PageID #:7349
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 284 of 308 PageID #:7350
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 285 of 308 PageID #:7351
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 286 of 308 PageID #:7352
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 287 of 308 PageID #:7353
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 288 of 308 PageID #:7354
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 289 of 308 PageID #:7355
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 290 of 308 PageID #:7356
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 291 of 308 PageID #:7357
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 292 of 308 PageID #:7358
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Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 294 of 308 PageID #:7360
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 295 of 308 PageID #:7361
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 296 of 308 PageID #:7362
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 297 of 308 PageID #:7363
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 298 of 308 PageID #:7364
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 299 of 308 PageID #:7365
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 300 of 308 PageID #:7366
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 301 of 308 PageID #:7367
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 302 of 308 PageID #:7368
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 303 of 308 PageID #:7369
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 304 of 308 PageID #:7370
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 305 of 308 PageID #:7371
Case: 1:12-cv-07167 Document #: 171-2 Filed: 09/16/14 Page 306 of 308 PageID #:7372
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